Case 8-18-72852-reg Doc 15 Filed 06/22/18 Entered 06/22/18 13:09:05

82030 (Form 2030) ('|2/15)

United States Bankruptcy Court
Eastern District of New York

In re Doreen Hoffman Case Nu.

 

Debtor(s) Chaptcr 11

DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)

l. Pursuant to ll U .S.C. § 329(a) and Fed. Ba.nkr. P. 2016(b),l certify that l am the attorney t`or the above named debtor(s) and that
compensation paid to me within one year before the filing ofthe petition in bankruptcy. or agreed to be paid to me_ For services rendered or to
be rendered on behalfofthe debtor(s) in contemplation ofor in connection with the bankruptcy case is as follows:

 

 

For legal services I have agreed to accept $ per fee applications to the Court
Prior to the filing ofthis statementl have received $ 9,500.00
Balance Due _ $ 0.00

 

 

2. The source ofthe compensation paid to me was:

- Debtor l:l Other(specify]:

3. The source ofeompensation to be paid to me is:

. chtor l:l Other (specify):
4. - I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law lirm.

l:l I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates ofmy law tirm. A
copy ot`the agrecman together with a list of` the names ot`the people sharing in the compensation is attached

5. In retum for the above-disclosed fee, l have agreed to render legal service for all aspects ot` the bankruptcy case, including:

Analysis ofthe debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy
Prepa.ration and filing of any petition. schedules statement ofal`f`airs and plan which may be required;
Representation of`the debtor at the meeting ot`creditors and confirmation hcaring, and any adjourned hearings thereof:
[Other provisions as needed]
Compensation as allowed by the Court per Fee Statements and Fee Applications to be filed in the ordinary
COUI'SE

P-.°_O'l~`°

6. By agreement with the debtor(s), the above-disclosed fee does not include the following service:

 

CERTIF`ICATION

l certify that the foregoing is a complete statement of any agreem.en
this bankruptcy proceeding

  
 
   

ayment to me for representation of the debtor(s) in

April 26, 2018 Isl Thaddeus R. Maciag, Esq.
Dale `l`haddeus R. Maciag, Esq.
S)‘gnatw'e of A tlorne y
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